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        The relief described hereinbelow is SO ORDERED.



        Signed March 09, 2022.

                                                   __________________________________
                                                          H. CHRISTOPHER MOTT
                                                   UNITED STATES BANKRUPTCY JUDGE
        ________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

        IN RE:                                  Case No. 20-10410-hcm

        3443 ZEN GARDEN, LP,                    CHAPTER 11

                      Debtor.


        PANACHE DEVELOPMENT &
        CONSTRUCTION, INC.

                      Plaintiff,

        vs.

        ROMSPEN MORTGAGE LIMITED
        PARTNERSHIP AND 3443 ZEN GARDEN,
        LP

                      Defendants.               Adv. Pro. No. 20-01048-hcm

                   ORDER GRANTING MOTION TO DISMISS WITHOUT PREJUDICE
                   AND FOR RELEASE OF FUNDS FROM REGISTRY OF THE COURT




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                   On this day, the Court considered the Joint Motion to Dismiss Without Prejudice and for

        Release of Funds from Registry of the Court (the “Motion”) filed by Plaintiff Panache

        Development & Construction, Inc. (“Panache”) and Defendant Romspen Mortgage Limited

        Partnership (“Romspen”) (collectively, the “Parties”).

                   On September 24, 2020, the Clerk of this Court received a cash Deposit in the amount of

        $1,387,100.46 (“Registry Funds”) from Romspen Mortgage Limited Partnership (“Romspen”) in

        this adversary proceeding. The Registry Funds were deposited and are held in the Registry of the

        Court pursuant to the Stipulation and Order entered on September 17, 2020 (dkt# 9) in this

        adversary proceeding.

                   After considering the Motion, the agreement of the parties, the history of the above-

        captioned adversary proceeding and bankruptcy case, and the record established in these cases;

        and for good cause shown, the Court is of the opinion that the Motion should be GRANTED. The

        Court finds that the following Order should be entered to assist the Clerk of the Court in (1) closing

        this adversary proceeding and (2) properly disbursing the Registry Funds held in connection with

        this adversary proceeding.

                   IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

                   1.     The Motion is granted to the extent set forth below.

                   2.     This adversary proceeding is dismissed in its entirety without prejudice. The

        Clerk’s office is directed to close this adversary proceeding.

                   3.     The Financial Institution of US Treasury CRIS currently holding the Registry

        Funds shall disburse the Registry Funds payable as follows, upon the Clerk’s receipt from

        Romspen of a completed Form W¬9 and Form AO213:




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                   The entire balance of the Registry Funds, together with the total accrued interest, less all

        applicable registry assessment fees, made payable to the following payee: “Romspen Mortgage

        Limited Partnership”, and mailed to the following name and address: Romspen Mortgage Limited

        Partnership c/o Thomas C. Scannell, Foley & Lardner LLP, 2021 McKinney Avenue, Suite 1600,

        Dallas, TX 75201.

                                                          ###




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                                            ###

        AGREED TO AND APPROVED:

        /s/ Thomas C. Scannell
        Thomas C. Scannell
        Tex. Bar No. 24070559
        FOLEY & LARDNER LLP
        2021 McKinney Avenue, Suite 1600
        Dallas, Texas 75201
        Telephone: (214) 999-3000
        Facsimile: (214) 999-4667
        tscannell@foley.com

        COUNSEL FOR ROMSPEN MORTGAGE
        LIMITED PARTNERSHIP

        /s/ Kell C. Mercer
        Kell C. Mercer
        State Bar No. 24007668
        Kell C. Mercer, PC
        1602 E. Cesar Chavez Street
        Austin, Texas 78702
        Telephone: (512) 627-3512
        Facsimile: (512) 597-0767
        kell.mercer@mercer-law-pc.com

        COUNSEL FOR PLAINTIFF




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